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                            IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

Tara S. Hopper,                               :
                                              :        Case No. 2:20-cv-00522
               Plaintiff,                     :
                                              :        Judge Edmund A. Sargus
v.                                            :
                                              :        Magistrate Judge Chelsey M. Vascura
Credit Associates, LLC, et al.,               :
                                              :
               Defendants.                    :


      JOINT MOTION TO VACATE APRIL 18, 2022 SETTLEMENT CONFERENCE

       Now come the Parties, by and through counsel, and respectfully request this Court vacate the

Settlement Conference scheduled for April 18, 2022.

       Before the Parties engaged in discovery efforts, the original named Plaintiff, Tara S. Hopper,

unexpectedly passed away. On March 25, 2022, the Court allowed the filing of a Third Amended

Complaint, which substituted Hopper’s estate as a party, and also added Steven Smith as an

additional plaintiff. Since that time, the parties have not yet begun discovery efforts on the claims

of Hopper’s estate or those of the new plaintiff, Smith. Additionally, Plaintiff’s counsel has advised

of a possible motion to voluntarily dismiss the claims of the estate, which would leave Smith as the

only remaining plaintiff. Accordingly, at this time, the Parties do not believe that they have

sufficient information to meaningfully participate in a settlement conference.

       In light of the current posture of the case, the Parties do not believe conducting a Settlement

Conference on April 18, 2022 will be a productive use of the Court’s or the Parties’ resources. The

Parties are in the process of jointly preparing a proposed Amended Scheduling Order and plan to

include a Settlement Conference on that Order.




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       FOR GOOD CAUSE SHOWN, the Parties’ Joint Motion to Vacate April 18, 2022

Settlement Conference should be granted.

                                           Respectfully submitted,

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